UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA,

                                                                         S5 18-CR-834 (PAE)
                         -v-
                                                                               ORDER
 DANIEL HERNANDEZ,

                                        Defendant.


PAUL A. ENGELMAYER, District Judge:

        On its review of the parties' sentencing submissions, the Court notes that defendant

Hernandez objects to one aspect of the Probation Department's guideline calculation, relating to

his criminal history. The Government has not commented on how the Guidelines apply to Mr.

Hernandez's case. The Court asks the Government, by letter due Friday, December 13, 2019, to

address whether it has any objections to the Probation Department's guidelines calculation, and

specifically to set out its position on the criminal history objection raised by the defense.


       SO ORDERED.




                                                               United States Distric! Judge
Dated: December 12, 2019
       New York, New York
